                   UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        CHARLOTTE DIVISION


UNITED STATES OF AMERICA                     )      DOCKET NO. 3:04CR135-2-MU
                                             )
               v.                            )
                                             )      ORDER
VEDA PORRECA                                 )
                                             )
                                             )

       THIS MATTER is before the Court on Defendant’s motion for modification of

judgment.

       The Court finds for the reasons stated in Defendant’s motion that there is good

cause to modify the judgment as requested.

       IT IS THEREFORE ORDERED that the Clerk shall amend this Court’s

judgment entered December 8, 2005 to delete the recommendation to the Bureau of

Prisons that Defendant be designated to Alderson, West Virginia, and substitute in its

place the recommendation to the Bureau of Prisons that Defendant be designated to

Coleman FCI in Florida.

       The Clerk is directed to certify copies of this Order and the Amended Judgment to

the United States Attorney, the United States Marshals Service, the U.S. Probation

Office, and the Bureau of Prisons.

       IT IS SO ORDERED.

                                        Signed: May 30, 2006




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